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                             United States District Court
                                       for the
                             Southern District of Florida

 United States of America,               )
 Plaintiff                               )
                                         )
 v.                                      ) Criminal Case No. 18-20463-CR-Scola
                                         )
 Ronald Bernadino Ruiz-Mendez,           )
 Defendant.                              )

                  Order Transferring Case To Fugitive Status

       This matter is before the Court sua sponte.          On May 31, 2018, an
 indictment was filed and this cause was randomly assigned to the undersigned.
 A warrant for arrest was issued for the defendant. Since the defendant has not
 made an initial appearance, he is transferred to fugitive status.
       Done and Ordered at Miami, Florida on June 26, 2018.



                                              ____________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge




 cc: AUSA Walter Norkin
